                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                     )
                                              )
                                              )
 v.                                           )       Case No. 1:07-CR-79
                                              )
 DEWAYNE KING                                 )       COLLIER/CARTER

                                            ORDER

        On December 3, 2007, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Dewayne King’s (“Defendant”)

 plea of guilty to Count One of the Indictment, conspiracy to distribute cocaine base (“crack”) in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange for the undertakings made

 by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty of

 the charges set forth in Count One of the Indictment, conspiracy to distribute cocaine base

 (“crack”) in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B); (c) that a decision on

 whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 121). Neither party filed an objection

 within the given ten days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s Report and Recommendation (Doc. 121) pursuant to 28 U.S.C. § 636(b)(1)

 and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, conspiracy to distribute

 cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange

 for the undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the



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 Indictment, conspiracy to distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(B);

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN in custody pending sentencing.

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        SO ORDERED.

        ENTER:


                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




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